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                             Exhibit 1
        Declaration of Christopher Karpenko
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02768-WJM-STV

   STATE OF COLORADO, and
   JENA GRISWOLD, Colorado Secretary of State,

             Plaintiffs,
   v.

   LOUIS DEJOY, in his official capacity as Postmaster General,
   UNITED STATES POSTAL SERVICE,
   SAMARN S. REED, in his official capacity as Denver, Colorado Postmaster, and
   CHRIS J. YAZZIE, in his official capacity as Albuquerque, New Mexico Postmaster,

             Defendants.


                           DECLARATION OF CHRISTOPHER KARPENKO


             I, Christopher Karpenko, pursuant to 28 U.S.C. § 1746, and based upon my personal

   knowledge and information made known to me from official records reasonably relied upon by

   me in the course of my employment, hereby declare as follows relating to the above-titled

   matter.

             1.      I am Executive Director of Brand Marketing for the United States Postal Service

   (“USPS”). I assumed this role in 2015.

             2.      As Executive Director of Brand Marketing, my responsibilities include

   developing and executing corporate brand strategies for the business side of USPS, including

   developing and overseeing marketing initiatives to achieve USPS’s goals for trust with the

   public, brand value, profitable revenue growth, market share, customer awareness, and customer


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   loyalty.

           3.      In my role, I oversee a team of 40 people that develops and executes national

   marketing campaigns, including television, radio, print, digital advertisements, and overall

   messaging.

           4.      My team also performs multiple large-scale mailings in order to communicate

   with the nation at large, as well as with our own 630,000 employees. For example, my team

   recently created and distributed a national health mailer to provide the public with important

   information regarding the COVID-19 pandemic to over 137 million addresses. For the past five

   years, we have also distributed mailers each year during the holiday season. The purpose of this

   mailing is educate our customers on USPS products and services as well as provide crucial

   information to educate them on mail/ship by dates in order for their items to arrive in time for the

   holidays.

           5.      More recently, my team was involved in the creation of a new, non-partisan

   public information campaign as part of its ongoing effort to educate voters on the Postal

   Service’s role in the 2020 election mail-in ballot process. This campaign is intended to provide

   voters with easily accessible information on how to successfully use the Postal Service to mail

   their ballot, if they choose to do so.

           6.      In particular, every U.S. residential mailing address and P.O. Box will receive, or

   has already received, the following informational mailer that includes a checklist for using the

   U.S. Mail to effectively cast a vote in the election if they choose to do so:




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          7.      This mailer is one part of an Omni channel campaign by the USPS designed to

   reach and inform all voters about the importance of planning ahead, if they plan to vote by mail.

          8.      As shown on the mailer, the USPS is specifically encouraging voters to: (1) start

   early, in order to ensure that they can successfully obtain and return their ballots (“Start today.

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   Give yourself and your election officials ample time to complete the process.”); (2) contact their

   local election officials to confirm the rules in their respective states (“Rules and dates vary by

   state, so contact your election board to confirm. Find links at usps.com/votinginfo.”); (3) request

   mail-in ballots, if they intend to utilize the mail to vote, at least 15 days before the election

   (“Request your mail-in ballot (often called “absentee” ballot) at least 15 days before Election

   Day.”); (4) follow the instructions on the ballot, and add postage to the return envelope if

   necessary (“Once received, follow the instructions. Add postage to the return envelope if

   needed.”); and (5) if individuals intend to mail their ballots back to their local election board, to

   mail those ballots at last seven days before Election Day (“Mail in your ballot at least seven days

   before Election Day.”).

           9.      The theme of these mailers—and of the campaign as a whole—is to encourage

   anyone who intends to vote by mail to plan ahead, and to educate individuals to consult their

   local election officials for state-specific rules and regulations.

           10.     The purpose of the campaign is to help ensure that individuals who choose to vote

   by U.S. mail can do so successfully, and that their votes will be submitted in time to be counted.

   The USPS anticipates that, due to the COVID-19 pandemic, more people will vote by mail than

   in any prior election cycle, and further anticipates that this will be the first election in which

   many individuals will have voted by mail. The USPS is preparing to handle delivery of ballots

   for those who choose to vote by mail. To that end, the USPS prepared these mailers in order to

   help individuals who plan to vote by mail. The postcard begins, “If you plan to vote by mail….”

   The postcard does not purport to address other types of voting.

           11.     The USPS did not seek to tailor the postcard to the rules for elections in each
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   individual state, and instead emphasized in the postcards that individuals should consult with

   their local elections officials in order to ensure that they are aware of the laws and requirements

   specific to their states. The USPS made this decision for several reasons, including that certain

   states are continuing to modify their elections procedures and the USPS did not want to risk

   providing outdated information. In addition, because residents of some states may be registered

   voters in other states, it was impractical to tailor the guidance to each state. Given the

   practicalities of mailing more than 137 million postcards, the USPS decided instead to mail

   identical, simple, general messaging postcards to households across the country containing

   guidance for successfully using the U.S. Mail to submit their ballots if a voter wanted to vote by

   mail.

           12.    For the vast majority of states across the United States, the first step in the vote-

   by-mail process is to request a ballot. The USPS was concerned that individuals may not realize

   that additional time is required to request and return a ballot by mail, and that—if individuals

   plan to complete the entire voting process through the mail—they must place their ballots in the

   mail far enough in advance of Election Day to allow the USPS to process the ballots and ensure

   that they arrive at the correct destination on time. Although many people are aware of Election

   Day itself (and of the Election Day “voting” deadline), relatively fewer are aware that, in order to

   vote by mail, ballots must be submitted before Election Day, and early enough to allow the

   USPS to timely deliver the ballots. USPS included information about a requesting a ballot in its

   mailer as many voters will be considering doing this for the first time and may not be familiar

   with the need to build in additional time.

           13.    For the significant majority of states, this language is entirely consistent with the
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   states’ election procedures. For the few states in which it is not necessary to request a ballot,

   including Colorado, the USPS did not view the language in the mailer about “requesting a ballot”

   to be at odds with those states’ elections procedures. In this small subset of states, it is the state

   itself that initiates the voting process by sending out ballots to its residents, rather than the

   residents initiating the process. Accordingly, in those states, the part of checklist that references

   “requesting” a ballot is already complete.

           14.     Moreover, even in this subset of states, if the state has not sent a ballot to a

   particular individual within 15 days of the election, and if that individual desires to vote by mail,

   the mailer encourages the individual to contact his or her local elections officials in order to

   request a ballot, or to determine why he or she has not been sent a ballot.

           15.     Finally, a number of individuals who reside in this subset of states where mail-in

   voting is automatic (including Colorado) are actually absentee voters in another state that does

   require voters to request a ballot. For these voters, the mailer simply reminds them to request an

   absentee ballot and to return that ballot by mail in time for it to be processed and delivered by

   Election Day.

           16.     The mailer also encourages voters who plan to vote by mail to return their ballots

   at least seven days before Election Day in order to ensure timely processing and delivery. Again,

   this advice applies only to individuals who plan to complete the entire voting process by mail—

   not those individuals who plan to submit their ballots another way, such as by dropping off their

   ballots at a designated polling station. The USPS included this information because, from

   USPS’s perspective, seven days should be sufficient for USPS to successfully process and timely

   deliver the volume of mail-in ballots that it anticipates receiving in this election. This advice is
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   consistent with the overall goal of this campaign, which was to help ensure that for those

   individuals who plan to vote by mail, they can successfully utilize USPS’s services to ensure that

   their votes are counted.

          17.     The USPS had no intention to create any confusion regarding voting procedures

   in particular states. The intent of the campaign was the opposite: it was to ensure that individuals

   knew to consult their local elections rules, and to plan in advance if they intended to vote by mail

   in order to ensure that their ballots were timely delivered.

          18.     To the extent the Court believes that these mailers create confusion in Colorado,

   the USPS is willing to take certain steps to clarify this issue for the public. For example, as set

   forth above, the mailer references in two separate places the website “usps.com/votinginfo,” and

   suggests that individuals visit this website for more information. The USPS could, for example,

   add to its “Frequently Asked Questions” section on this website information to explain that state

   rules vary with respect to how voters obtain ballots, and that voters should follow the links

   provided to their own state websites—including Colorado—to receive official local guidance

   regarding how to obtain a ballot. The Postal Service’s intent is to be helpful, educational and

   offer a level of trust to the American people.

          Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct to the best of my information, knowledge, and belief.

          Executed on this 13th day of September 2020, in Washington, D.C.

                                                          s/ Christopher Karpenko
                                                          Christopher Karpenko
                                                          Executive Director of Brand Marketing
                                                          United States Postal Service

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